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                                                               Attorneys for Defendant
                                                             7 William Wine

                                                             8
                                                                                        UNITED STATES DISTRICT COURT
                                                             9
                                                                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                            10

                                                            11 UNITED STATES OF AMERICA,                 CASE NO. CR06-00809-R
BECK, DE CORSO, DALY,

                        601 WEST FIFTH STREET, 12TH FLOOR
                        A PROFESSIONAL LAW CORPORATION
 KREINDLER & HARRIS




                                                                               Plaintiff,
                         LOS ANGELES, CALIFORNIA 90071




                                                            12                                           DEFENDANT WILLIAM WINE’S
                                                                                                         SENTENCING MEMORANDUM
                                                            13          vs.

                                                            14 WILLIAM WINE,                             Sentencing Date: May 1, 2007
                                                                                                         Sentencing Time: 2:00 p.m.
                                                            15                 Defendant.
                                                                                                         [The Honorable Manuel L. Real]
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                                                            22 I.       INTRODUCTION
                                                            23          On January 8, 2007, Defendant William Wine, a first-time

                                                            24 offender, pleaded guilty to a one-count information pursuant to a

                                                            25 plea agreement with the government.          As reflected in the plea

                                                            26 agreement, Mr. Wine misappropriated a substantial amount of money

                                                            27 from his then-client, Harry Dean Stanton.          Mr. Wine is ashamed

                                                            28 and devastated by his conduct, and he accepts complete


                                                                 224981.1                            1
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                                                             1 responsibility for his actions.         As evidenced by letters from his

                                                             2 father, William L. Wine, Sr., and his friend, Keith Forster,

                                                             3 which are attached as Exhibits A and B, respectively, to the

                                                             4 Appendix to Defendant William Wine’s Sentencing Memorandum filed

                                                             5 herewith under seal, Mr. Wine’s conduct is contrary to his

                                                             6 character as a law-abiding and hard-working citizen, and loyal

                                                             7 friend and son.         By his conduct, Mr. Wine turned his own world

                                                             8 upside-down and inside-out, and has lost almost all of his

                                                             9 friends as a result.         The Court can be confident that Mr. Wine

                                                            10 poses no threat of future criminal activity.

                                                            11          Foremost on Mr. Wine’s mind is his desire to pay restitution

                                                            12 to Mr. Stanton as soon as he is able to do so.           In fact, as
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                         LOS ANGELES, CALIFORNIA 90071




                                                            13 reflected in the PSR, Mr. Wine has already paid $25,000 to Mr.

                                                            14 Stanton.         Although that sum is a small portion of the total

                                                            15 amount he owes to Mr. Stanton, this payment was made at a time

                                                            16 when Mr. Wine could pay for little else in his life.            Mr. Wine

                                                            17 therefore respectfully requests that the Court adopt the

                                                            18 government’s recommendation and sentence Mr. Wine to a 30-month

                                                            19 term, the low end of the applicable Guidelines range.
                                                            20 II.      MR. WINE HAS NO OBJECTION TO EITHER THE SENTENCING

                                                            21          CALCULATIONS OF THE PROBATION OFFICER OR THE RECOMMENDATIONS

                                                            22          OF THE GOVERNMENT

                                                            23          Mr. Wine concurs with the United States Probation Office’s

                                                            24 sentencing recommendation in this matter, as set forth in the

                                                            25 PSR.         Mr. Wine also understands that the government (1) concurs

                                                            26 with the PSR’s recommendation and (2) believes that the agreed-

                                                            27 upon restitution amount of $936,356 should be increased by

                                                            28 $50,000 to account for funds Mr. Wine obtained from another


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                                                             Case 2:06-cr-00809-R Document 31 Filed 04/25/07 Page 3 of 5 Page ID #:100



                                                             1 client.      Mr. Wine does not object to the $50,000 increase in

                                                             2 restitution (but he would object to the inclusion of this amount

                                                             3 in the Court’s determination of relevant conduct in this case);

                                                             4 however, he objects to the last sentence of Paragraph 78 of the

                                                             5 PSR, to the extent that sentence purports to state a fact rather

                                                             6 than an allegation made by Mr. Torme in his civil suit against

                                                             7 Mr. Wine.     That allegation is unproven, as Mr. Torme’s judgment

                                                             8 was obtained by default rather than on the merits.

                                                             9

                                                            10 Dated: April 25, 2007                  Respectfully submitted,
                                                            11                                        BECK, DE CORSO, DALY,
                                                                                                      KREINDLER & HARRIS
                                                            12
BECK, DE CORSO, DALY,

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                                                                                                      A Professional Law Corporation
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 KREINDLER & HARRIS

                         LOS ANGELES, CALIFORNIA 90071




                                                            13

                                                            14                                  By:               /S/
                                                            15                                        MELISSA M. DULAC, Attorneys for
                                                                                                      Defendant William Wine
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                                                             1                               PROOF OF SERVICE

                                                             2                United States Of America vs. William Wine
                                                                                     USDC Case No. CR 06-00809-R
                                                             3
                                                                    At the time of service, I was over 18 years of age and not a
                                                             4 party to this action. I am employed in the County of Los
                                                               Angeles, State of California. My business address is 601 West
                                                             5 Fifth Street, 12th Floor, Los Angeles, California 90071.

                                                             6        On April 25, 2007, I served the following document(s)
                                                                 described as
                                                             7
                                                                            DEFENDANT WILLIAM WINE’S SENTENCING MEMORANDUM
                                                             8

                                                             9 on the interested parties in this action as follows:

                                                            10      BY FACSIMILE: I sent a copy via facsimile transmission to
                                                               the telefax number indicated below. The facsimile machine I used
                                                            11 complied with California Rules of Court, Rule 2003 and no error
                                                               was reported by machine.
                                                            12
BECK, DE CORSO, DALY,

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                        A PROFESSIONAL LAW CORPORATION
 KREINDLER & HARRIS

                         LOS ANGELES, CALIFORNIA 90071




                                                                    BY MAIL: by placing the document(s) listed above in a sealed
                                                            13 envelope with postage thereon fully prepaid, in the United States
                                                               mail at Los Angeles, California addressed as set forth on the
                                                            14 attached below.

                                                            15      Luis A. Rivas
                                                                    U.S. Probation Officer
                                                            16      600 U.S. Courthouse
                                                                    312 No. Spring Street
                                                            17      Los Angeles, CA 90012-4708
                                                                    FAX (213) 894-3620
                                                            18

                                                            19      I am readily familiar with Beck, De Corso, Daly, Kreindler &
                                                               Harris’s practice for collecting and processing correspondence
                                                            20 for mailing. On the same day that the correspondence is placed
                                                               for collection and mailing, it is deposited in the ordinary
                                                            21 course of business with the United States Postal Service, in a
                                                               sealed envelope with postage fully prepaid.
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                                                             1      I declare under penalty of perjury that the foregoing is
                                                               true and correct. I am employed in the office of a member of the
                                                             2 bar of this Court at whose direction the service was made.

                                                             3          Executed on April 25, 2007, at Los Angeles, California.

                                                             4
                                                                                                   ____________/S/____________________
                                                             5                                     VICKI KIRKLAND

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BECK, DE CORSO, DALY,

                        601 WEST FIFTH STREET, 12TH FLOOR
                        A PROFESSIONAL LAW CORPORATION
 KREINDLER & HARRIS

                         LOS ANGELES, CALIFORNIA 90071




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